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2009R00922
MN/ia



                                              UNITED STATES DISTRICT COURT
                                              DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA,                     Honorable Jose L. Linares

                  Plaintiff,                   Criminal No. 09-864
             V.
                                               FINAL ORDER OF
 RONALD MANZO,                                 FORFEITURE

                  Defendant.


        WHEREAS, on November 17, 2009, the United States filed an

Indictment, charging defendant Ronald Manzo with conspiracy to obstruct

commerce by extortion under color of official right in violation of Title 18,

United States Code, Section 195 1(a) (Count One); attempted extortion under

color of official right, in violation of Section 195 1(a) and Section 2 (Count Two);

and acceptance of a corrupt payment, in violation of Title 18 United States

Code, Section 666(a)(1)(B) and Section 2 (Count Three); and

         WHEREAS, on May 12, 2011, Ronald Manzo pleaded guilty to Count

One of the Indictment, pursuant to a plea agreement between defendant and

the United States (the “Plea Agreement”), whereby defendant Ronald Manzo

agreed to the forfeiture of $42,500.00 in United States currency; and

        WHEREAS, on May 13, 2011, a Consent Judgment and Preliminary

Order of Forfeiture between the United States and defendant Ronald Manzo

was entered, under which the defendant agreed, pursuant to Title 18, United
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States Code, Section 981(a)(1)(C), and Title 28, United States Code, Section

246 1(c), to the forfeiture of $42,500 in United States currency (the “Property”)

for a violation of Title 18, United States Code, Section 1951; and

      WHEREAS, pursuant to Title 21, United States Code, Section 853(n)(1), a

Notice of Forfeiture with respect to the Property was posted on an officia
                                                                            l

government internet site, namely www.forfeiture.gov, beginning on June 3,

2011, and running for thirty consecutive days through July 3, 2011 (see

Exhibit A to the Declaration of Maureen Nakly with Exhibits); and

      WHEREAS no claims or answers have been filed against the Property

within the time permitted;

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

      THAT a Final Order of Forfeiture is entered against $42,500 in United

States currency and no right, title or interest in the Property shall exist in
                                                                                 any
other party; and

      THAT any and all forfeited funds, including but not limited to currency,

currency equivalents, and certificates of deposits, as well as any income

derived as a result of the United States Marshals Service’s management of
                                                                                 any
property forfeited herein, after the payment of costs and expenses incurre
                                                                                d in
connection with the forfeiture and disposition of the forfeited property, shall
                                                                                   be
deposited forthwith by the United States Marshals Service into the Department

of Justice Asset Forfeiture Fund, in accordance with the law.


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      The Clerk is hereby directed to send copies to all counsel of record.


      ORDERED      this              day of                         ,   2012.




                                               Ho/orable Jose L. Linares
                                               Uiited States District Judge




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